AO 440 (Rev.Case
             06/12) 2:20-cv-03667-PA-PVC
                    Summons in a Civil Action Document 3 Filed 04/21/20 Page 1 of 1 Page ID #:247

                                   UNITED STATES DISTRICT COURT
                                                             for the
                                                  Central District of California


  MUSSO & FRANK GRILL CO., INC., a California                  )
               corporation,                                    )
                                                               )
                                                               )
                        Plainti.ff(s)                          )
                             v.                                )       Civil Action No.
                                                               )
   MITSUI SUMITOMO INSURANCE USA INC., a                       )
             New York corporation,                             )
                                                               )
                       Defendant(s)                            )
                                                               )

                                               SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) MITSUI SUMITOMO INSURANCE USA INC., a New York corporation,




          A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are: MICHAEL J. BlDART
                                        RICARDO ECHEVERRIA
                                        SHERNOFF BIDART ECHEVERRIA LLP
                                        600 S. Indian Hill Blvd.
                                        Claremont, CA 91711
                                        (909) 621-4935

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


  Date:   ---------
                                                                                    Signature of Clerk or Deputy Clerk
